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                       EXHIBIT 7
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                  Rules, Communication,and Collusion:
              NarrativeEvidence from the Sugar InstituteCase

                             By DAVID GENESOVEAND WALLACEP. MULLIN*

         Detailed notes on weekly meetings of the sugar-refiningcartel show how commu-
         nication helpsfirms collude, and so highlight the deficiencies in the currentformal
         theory of collusion. The Sugar Institute did not fix prices or output. Prices were
          increased by homogenizing business practices to make price cutting more trans-
         parent. Meetings were used to interpretand adapt the agreement, coordinate on
         jointly profitable actions, ensure unilateral actions were not misconstrued as
          cheating, and determinewhether cheating had occurred. In contrast to established
         theories, cheating did occur, but sparked only limited retaliation,partly due to the
         contractual relations with selling agents. (JEL L13, L41)


   This paperreexamines the cartel problem by                        It operateduntil 1936, when the SupremeCourt
studying the privatediscussions within one car-                      ruledits practicesillegal.
tel. While we find much that is in accord with                          Among the top executives in regular atten-
George J. Stigler's (1964) basic insight that                        dance at the meetings was Louis V. Place,
firms would structurean agreement conscious                          Vice President of McCahan, a midsize refin-
of their later incentive to cheat on it, we also                     ery in Philadelphia. Place, who was "in
uncover puzzles for established theory, and                          charge of all activities of the company except
identify elements that a richer theory should                        production and raw sugar purchases,"' wrote
encompass-especially regarding the role of                           over 500 pages of single-spaced detailed
communicationin collusion.                                           notes on the Board of Directors, Executive
   Ourwindowinto the innerworkingsof a cartel                        Committee, and Enforcement Committee
is a remarkableseries of notes on the weekly                         meetings from January 1929 through mid-
meetingsof the SugarInstitute.This tradeassoci-                      1930. He also reported on the informal gath-
ationwas formedin December1927, in the wake                          erings that followed them, and private
of several years of falling margins and excess                       conversations with other refiner representa-
capacity,by 14 firms comprisingnearly all the                        tives and Institute personnel.2 Since the
cane sugarrefiningcapacityin the United States.                      memos circulated among only some six
                                                                     McCahan executives, they are extremely can-
                                                                     did. Under cross-examination at the trial,
                                                                     Place claimed to have regularly destroyed
    * Genesove: Departmentof Economics, HebrewUniver-                them upon receiving the much less revealing
sity of Jerusalem, Mt. Scopus, Jerusalem 91905, Israel;              official minutes.3 Place's own notes catch the
Mullin: Departmentof Economics, Michigan State Univer-
sity, 101 MarshallHall, East Lansing, MI 48824. Mullin's
researchwas supportedby an MSU AURIG grant,which is
gratefully acknowledged. David Bumstein provided excel-
                                                                        1
lent research assistance. We thank Phil Haile, Tom Hub-                   Testimony of Louis Plac6, Transcriptof Record, Vol-
bard, Fiona Scott Morton, two anonymous referees, and                ume II p. 827 (United States v. Sugar Institute,Records of
lunch and workshop participantsat the University of Chi-             the District Court of the United States).
cago, CEPR, the Hebrew University of Jerusalem,Indiana                  2 The Plac6 memoranda are deposited in the Rionda
University,MIT, Michigan State University, and the NBER              Family Archives at the University of Florida, Gainesville
for helpful comments. Special thanks are due to Carl Van             (see Carl Van Ness, 1995). We supplementthem with the
Ness, archivistat the University of Florida,Gainesville, for         voluminous trial record. Both sources are described in
his assistance in using the Braga Brothers collection. We            Genesove and Mullin (1999).
also thank Fred Romanski and Gregory Plunges of the                     3 United States v. Sugar Institute (1934), paragraph

National Archives and Records Administration.                        7712, Volume VI, SupplementalTranscriptof the Record.
                                                               379




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President of American in an act of perjury,4                      nor allocated marketshares. There is no indica-
and reveal both the refiners' legal strategy,                     tion or legal finding of either.6Instead, it fixed
and their political machinations.5                                rules. These rules, the main principles of which
  For economists, Place's notes are a unique                      were statedin its Code of Ethics7and the details
information trove on cartel behavior. Partici-                    of which were promulgatedin successive Code
pants in a modem cartel are unlikely to create                    Interpretations,covered every conceivable as-
such detailed and contemporaneousdocuments                        pect of the distributionand marketingof sugar
of decision-making, due to legal concerns.                        other than the basis price itself. In this way, the
Moreover, although antitrustagencies can sub-                     refinerseliminated the differentialtreatmentof
poena firmrecordsand interviewmarketpartic-                       customers and harmonized contractual prac-
ipants, strict confidentiality rules keep what                    tices, thus facilitating the detection of secret
they learn from academic research, except by                      price cuts.
way of the rare trial.                                               In his seminal work on collusion, Stigler
  Place's memos serve us in two ways. First,                      (1964) identifiedthe ability both to detect price
they are a record of the communication among                      cutting and to retaliate againstit as the primary
the refiners. Here are announcements of im-                       requirementsof successful collusion. However,
pending actions that firms did not wish miscon-                   he emphasized detection. In contrast, more re-
strued as market stealing, charges of cheating,                   cent work, from EdwardJ. Greenand RobertH.
threatsof retaliation,and deliberationsover co-                   Porter(1984) on, has concentratedon the nature
operativeactions that were jointly profitablebut                  of optimal retaliation, and taken the detection
singly unprofitable.                                              probability as parametric.Studying the Sugar
   Second, the memos reveal the reasoning be-                     Instituterefocuses our attentionon detection, in
hind firms' actions. This is a type of evidence                   revealing how firms may enhance it by altering
that economists have tended to shy away from.                     their environment through both specific rules
Milton Friedman(1953) would judge a theory                        and institutionalstructure,including communi-
solely by its predictedoutcomes. But we agree                     cation. The costs of such a strategyin foregone
with Alan S. Blinder (1993) that a firm's expla-                  profits from price discriminationand cost effi-
nationof its conductis also proof, since a theory                 ciencies are made clear as well.
describes the "chainof reasoning"which moti-                         We find the currentformal theory of collu-
vates the firm. Indeed, participants'beliefs are                  sion wanting in three respects. First, the theory
an integralpartof many game-theoreticmodels.                      ignores the inevitable incompleteness of collu-
Furthermore, because like Ariel Rubinstein                        sive agreements.Conclusions about the role of
(1992) we view "a model [as] an approximation                     renegotiations are especially misleading be-
of [the players'] perceptionand not an approx-                    cause of this neglect. In contrast,we show that
imation of an objective description of reality,"                  the meetings embodied a governance structure
we thinkit valuable to documenthow colluding                      for the agreement, ensuring its adaptation to
firms viewed their environment.                                   (typicallyendogenous)changingcircumstances.
   The SugarInstitutenever directlyfixed prices                   Second, the theory provides no role for rich
                                                                  communicationwithin the agreement.We show
                                                                  the crucial role providedby ex ante notification
   4He actively participatedat a meeting in which the move
to deliveredpricing was coordinated(W.J. McCahanSugar
                                                                  and ex post determinationof fault at the weekly
Refiningand Molasses Company,Memorandaand Notes of                meetings.8
Meetings, April 18, 1929), but denied that the refinersever
discussed it (United States v. Sugar Institute, Defendants
                                                                     6
Fact Brief, p. 212). The memos also show ArbuckleBroth-                The antitrustauthoritiesrealizedthis early on (HarryA.
ers shippingto a bootlegger (W.J. McCahanSugar Refining           Babcock, 1930 p. 14).
and Molasses Company,Memorandaand Notes of Meet-                     7 This is reproducedin the Appendix of Genesove and

ings, February20, 1930).                                          Mullin (1999).
   5 W. J. McCahan Sugar Refining and Molasses Comn-                 8 Recent work that uses communication as a technical

pany, MemorandaandNotes of Meetings, January29, 1929;             device to form public histories to solve for the equilibrium
February 15, 1929; May 11, 1929. In the last case, the            does not demonstratethe need for communication(Olivier
refinersdiscuss asking the beet-sugarrefinersassociation to       Compte, 1998; MichihiroKandoriand Hitoshi Matsushima,
petition the governmentto regulatetransportationpricing in        1998). Also, the messages in these models are simply ret-
the sugar-canerefining industry.                                  rospectivereportsof the privateinformation-i.e., firm out-




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   Finally, as Margaret C. Levenstein (1997)                     The establishmentof the Sugar Institutein De-
has shown, the theory incorrectlypredicts that                   cember 1927 is coincident with an increase of
cheating (which should not even occur in equi-                   the margin of about 20 to 25 cents per hundred
librium!)will always be met by competitive, or                   pounds over the preceding three years. As col-
subcompetitive,conditions. We see such harsh                     umn (4) shows, this increase is a more than
punishmentsonly in response to massive cheat-                    doublingof the LernerIndex. Of course, the use
ing. Occasional incidents of cheating were typ-                  of list prices runsinto the obvious difficultythat
ically not retaliatedagainst. Open violations, or                the Institutewas established in response to the
consistent patterns of cheating in a single di-                  pervasiveness of secret price cuts. However,
mension were matchedin degree and kind. We                       any bias only strengthens our conclusion: so
arguethatthe contractualarrangementsfor sales                    long as the Sugar Instituteeliminated or at the
agents help explain the limited retaliation.                     very least did not exacerbatethe secret conces-
   Section I presents evidence that the Institute                sions, the increase in the list price provides a
raised marginsand profits.This establishes that                  lower bound for the increase in the actualprice.
the collusive efforts were at least partiallysuc-                   An increasein the price-costmarginindicates
cessful, and so merit furtherinvestigation.Sec-                  only that collusion was enhanced. How close
tion II details the collusive mechanism, rule                    that is to fully collusive pricing depends on the
fixing, and the benefits and costs it entailed.                  elasticity of the relevant demand curve. In our
Section III interpretsthe Instituteas an incom-                  earlier work, we show that the elasticity of
plete collusive agreement. Sections IV and V                     demand for cane sugar during the 1890-1914
explore how ex ante notification and ex post                     period was about 1.75. That would indicate a
determinationof fault supportedthe agreement,                    monopoly LernerIndex of 57 percent,far above
while Section VI documents firms' response to                    the marginsunder the Sugar Institute.This dis-
its violation. Section VII shows that the firms                  crepancy is explained in part by the post-War
did not transfermarketshares or infer cheating                   growth of beet sugar, which would have in-
from variations in them, as existing theories                    creased the demand elasticity for cane, and in
predict. Section VIII concludes.                                 part by the desire to deter both foreign and
                                                                 domestic entrants.A more realistic benchmark
                    I. Performance                               for monopoly pricing would be 11 percent.This
                                                                 was the margin in 1892, when both the margin
   How successful was the Sugar Institute?Ta-                    and American's market share reached their
ble 1 lists some relevant yearly statistics. As                  greatest level (the latter at 92 percent of the
Genesove and Mullin (1997, 1998) showed, the                     market).By that measure,the refinersmanaged
simple productiontechnology of cane sugar re-                    to raise the LernerIndex to aboutthree-quarters
fining affords direct measures of marginalcost                   of its monopoly level.
and so of the price-cost margin as well. To                         The quantityseries, though less dramatic,is
produce a pound of refined sugar, one needs                      also consistentwith an increasein marketpower.
1.075 pounds of raw sugar, the price of which                    Column(5) shows thatthe outputof the Atlantic
constitutesmost of the cost of refining. Column                  refinersfell with the establishmentof the Sugar
(2) presents the "propermargin,"the difference                   Institute.The decreasein outputis small,as sugar
between the price of refinedand 1.075 times the                  demandis relativelyinelastic.Outputcontinuedto
price of raw. Column (3) subtractsan additional                  fall in the latterpartof the SugarInstituteperiod.
60 cents per hundredpounds, which represents
all non-raw-sugarvariable costs of refining.9
                                                                 remarkablystable as well. McCahan's internal documents
                                                                 indicate these costs amounted to 63.6 cents per hundred
puts-and miss the richness that we will describe later on.       pounds in 1927 (W. J. McCahan Sugar Refining and Mo-
LauritsRolf Christensenand RichardE. Caves (1997) and            lasses Company, Correspondence, December 12, 1932
Maura P. Doyle and ChristopherM. Snyder (1999) show              Plac6 letter to Manuel E. Rionda.) The correspondingin-
how firms coordinate through public announcements of             dustry average in 1927 was 55.3 cents. (United States v.
intendedcapacities and production,respectively.                  Sugar Institute, brief for the Defendants on the Facts, p.
   9 This is 26 cents (per hundredpounds) in 1898 dollars,       455, in District Court Record). The economic significance
the value used in the earlier studies. These costs remained      of these differences across firms or time is slight.




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                         TABLE 1-EFFECT      OF THE SUGAR INSTITUTE ON PERFORMANCE MEASURES


(1)              (2)               (3)               (4)               (5)               (6)             (7)          (8)
                                 Proper                                                                             Foreign
               Proper            margin            Lerner                                               Beet        refined
Year           margin            -0.60             index             Output             Profits         share        share
1914            0.99              0.39             0.047               106                3.7
1915            0.95              0.35             0.036               114                3.9
1916            1.04              0.44             0.041               118                4.3
1917            1.31              0.70             0.068               103                7.4
1918            1.04              0.44             0.048                93                3.9
1919            0.88              0.27             0.029               121                4.2
1920            1.94              1.34             0.129               113               12.2
1921            1.06              0.46             0.073               128                6.0
1922            0.97              0.36             0.060               157                5.9
1923            0.88              0.28             0.033               123                3.3
1924            1.06              0.45             0.061               128                5.4           15.3           0.5
1925            0.80              0.19             0.035               143                2.6           16.1           0.5
1926            0.79              0.18             0.034               142                2.7           15.4           0.5
1927            0.74              0.14             0.023               130                2.0           14.7           2.5
1928            1.00              0.40             0.071               122                4.9           18.7           6.2
1929            1.00              0.39             0.077               128                5.1           14.7           8.3
1930            1.04              0.44             0.091               126                5.6           17.0           8.0
1931            0.96              0.36             0.071               107                3.8           20.5           9.6
1932            1.07              0.47             0.093               103                4.7           21.0          12.8
1933            1.14              0.54             0.093                99                5.3           21.6          14.7
1934            1.17              0.56             0.104                94                5.3           25.1          11.0
1935            1.07              0.47             0.083                96                4.4           22.1          11.1
1936            1.03              0.42             0.072                98                4.2
1937            1.03              0.43             0.077               108                4.9
1938            0.98              0.37             0.077               100                3.7
1939            1.01              0.41             0.079                99                3.9
1940            1.01              0.41             0.086               100                3.9
1941            0.85              0.25             0.048               116                3.0

Notes: Columns (2) through(6) are weekly averages.Column (2) shows the differencebetween the price of refinedsugarand
1.075 times the price of raw sugar, in cents per pound. Column (3) shows the difference between column (2) and 0.60, the
non-raw-sugarcomponent of variable cost per pound. Colunm (4) presents the ratio of that margin to the price of refined
sugar.Column (5) shows the outputof the Atlanticrefiners,in millions of pounds. Column (6) shows the sum of the variable
profits of the Atlantic refiners,in millions of dollars. Columns (7) and (8) present the annual shares of domestic beet-sugar
productionand importedrefined sugar in total U.S. sugar consumption.All prices are in December 1927 dollars. The Sugar
Institutewas established in December 1927.
Sources: Prices of refined (standardgranulated)and raw (96 centrifugal)and output are taken from the weekly reports of
Willett and Gray's WeeklyStatistical Sugar Trade Journal. The shares of domestic beet-sugar production and imported
refined sugar are taken from the Januaryissues of Willettand Gray's WeeklyStatistical Sugar Trade Journal.



The decline is undoubtedlydue to the GreatDe-                        As one would expect, rivals outside of the
pression, althoughit is much less than the 24-                    collusive agreementresponded to the price in-
percentfall in total industlialoutput.The relative                crease by increasing their own output. Column
stability of sugar productionis consistent with                   (8) shows an increase in imports of refined
ChristinaD. Romer's(1990) findingthatthe onset                    sugar,which originatedalmost entirelyin Cuba.
of the GreatDepressionwas associatedwithmuch                      Coca-Cola, the largest purchaser of refined
sharpercutbacksin purchasesof durablesthanof                      sugar, was among those firms that shifted en-
nondurables.It is also due to low prices for raw                  tirely to foreign suppliers.'0Previously a negli-
sugar,itself a consequenceof rising subsidiesin
producernations and the 1934 reductionin the
tariffon Cubanrawsugars(Bill AlbertandAdrian                         10 James Fly to O'Brien, February 26, 1932, United
Graves,1988 p. 9).                                                States v. Sugar Institute, DOJ Correspondence,Case File




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gible flow of less than half a percent of total                    The remaining rules primarily consisted of
U.S. consumption, foreign refined sugar in-                     restrictions on contractual practices between
creasedto 6 percentin the firstyear of the Sugar                the refiners and downstream firms-brokers,
Institute and continued to increase until it                    wholesalers, and retailers-and among down-
reached almost 15 percent in 1933, after which                  streamfirmsthemselves. The breadthand detail
it was reduced by legislative fiat in the Sugar                 of the restrictionswere remarkable.For exam-
Act of 1934 to 11 percent. The share of beet                    ple, the Institutedisallowed quantitydiscounts,
sugarproduction[column(7)], whose producers                     allowances for the return of sugar bags, long-
lay outside of the Sugar Institute as well, also                term contracts, and certain types of credit ar-
rose-from an average share of 15.4 percent in                   rangements.It requiredrefiners to report it all
the four years before the Sugar Institute,to an                 sales of damaged sugar. It drew up a list of
average of 17.7 percentin the first four years of               permissible consignment points (cities where
the Institutebefore the Sugar Act, althoughthe                  refinersstored sugaron their own account).The
year-to-yearvariabilityhere is such thatone can                 Institutewent so far as to forbid certain down-
not clearly attributethe rise to the Institute's                streamactivities, namely brokerageand storage,
formation.                                                      being combined within the same firm! Enforce-
   Prices, profit margins, and the like are all                 ment of this last rule engaged the Institute in
measures of market power. They tell us the                      private investigation and auditing.
degree to which collusion is successful. They                      The statedaim of these rules was to eliminate
say nothing about how it is achieved. For that,                 discriminatorypricing. This claim was repeated
we must consider the actual mechanism of col-                   as part of the refiners'legal defense, but why it
lusion-that is, the SugarInstitute-its rules, its               would have been in their interest to do so was
meetings, and the means by which it ensured                     never explained. The defendantsnoted that this
compliance with those rules.                                    ensuredcompliancewith the ClaytonAct's pro-
                                                                hibition on price discrimination,but were silent
               II. Collusionby Rules                            on why compliance requiredcollective action.
                                                                   To the economist, the Institute's rules
  The SugarInstitutesystem combinedimplicit                     smack of facilitating            practices.   Collusive
collusion on price with explicit collusion on                   agreements are constantly in danger of being
business practices.The lattercomplementedthe                    undermined by secret price cuts. Since a col-
former-the ultimate goal-by making price                        lusive agreement results in a price above any
cuts more transparent.In this section, we outline               firm's individually optimal price, participant
the agreementon business practices.In the next                  firms have an individual incentive to undercut
three sections, we explore how, through com-                    this price slightly and receive a larger share of
munication, explicit collusion sustained the                    industry demand and profits. A firm that
agreement.                                                      cheats will want to undercut secretly in order
  Rule number one of the Sugar Institute was                    to avoid retaliation from other producers.
the requirementof "open prices and publicly                     Anything that makes detection of a secret
announced terms," and so nondiscriminatory                      price cut more likely enhances collusion. At
pricing. The attendantprovisions that prices be                 least if they are adhered to, the requirements
posted on the refiners' bulletin boards, that the               of "open prices and publicly announced
Institutebe notified of all changes both in price               terms" clearly make cheating more evident.
and methods of pricing, and that price changes                  Complex, differentiated contractual terms
be announced no later than 3:00 p.m. merely                     may hide price cuts under other names, and so
continued existing industrypractice.                            restrictions on contracting practices would
                                                                serve a similar role to the open-pricing
                                                                requirement. Thus, the Sugar Institute was
                                                                primarily a mechanism to increase the
No. 60-104-13. Foreign refinersattributedtheir increased        probability of detection of secret price cuts,
exports to the higher U.S. margins brought by the Sugar
Institute (Walter L. Rice to James Fly, May 16, 1932,           thereby facilitating collusion.
UnitedStates v. Sugar Institute,DOJ Correspondence,Case            The refinersworkedto enhancedetection and
File No. 60-104-13).                                            not reduce reactiontime, because the industry's




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long standing "moves" system, in effect even                    refinedsugaritself. The refinerwould then com-
before the establishmentof the Sugar Institute,                 pensate the broker by routing an unintermedi-
already made the effective reaction lag nearly                  ated purchase offer through the broker, for
zero. Under this system, announced price de-                    example.12
creases took effect immediately, while price
increases took effect only after a day had                       Delivery Time (Contract Enforcement).-
passed. That gave buyers, who purchased a                      Customersdid not have to take delivery imme-
month's worth of sugar at a time, the incentive                diately, but could spreadout deliveries againsta
to refrain from purchasingimmediately after a                  contract over 30 or more days. Allowing fa-
price decrease until other, perhaps preferred,                 vored buyers to take delivery beyond the con-
firms matched it (which they always did) and                   tracted date not only saved them storage and
perhapsto benefit from a furtherfall in price. In              interestpayments,it also constituteda preferred
practice,firms' reactionsoften came in minutes,                price if the basis price rose in the meanwhile.So
and a day proved long enough for all reactions                 the Institute insisted that delivery dates be
to be registered and for the price to settle. So               enforced.
price competition preceded trade. Thus by de-
creasing its publicly announced price a firm                      Freight rates.-This was yet anotherway of
could not hope to "steal the market."Only se-                  giving a price cut, although only on rates not
cret discounts could steal customersaway from                  regulatedby the InterstateCommerceCommis-
other firms.                                                   sion (ICC). For that reason, the Sugar Institute
   The Sugar Instituterules were so wide rang-                 discouraged use of private water charters by
ing and detailed, because virtually every con-                 requiringevery such shipmentto be registered.
tractual term could mask a price cut. We                       It also asked the chartersto quote uniformrates
consider five of these rules.                                  for all customers,and even demandeda written
                                                               commitmentfrom shippersnot to rebate freight
   Water-Damagedor Frozen Sugar.-It seems                      to customers.13 When the lower water rates
reasonablethatsuch sugarsell at a discount.But                 proved too tempting to both refiners and their
a refiner could ship undamaged sugar to a fa-                  brokers,the refinersmoved to deliveredpricing,
vored customer, invoice it for damaged sugar,                  as described in Section III.
and claim, if questionedlater,thatthe sugarwas
damaged. So for each such sale, the rules re-                     Colluding in this manner was not costless.
quired "full details of amount, location, reason               By adopting these restrictions, the firms for-
and price to be circulatedby the Institute."11                 went additional profits from the differential
                                                               treatment of customers.14 These lost profits,
   Favorable Credit Terms.-Likewise, favor-                    which a monopolist would have earned, de-
able credit telrmssecretly extended to buyers                  rived not only from price discrimination, but
could substitutefor a price cut. A long-standing               also efficiencies of various kinds, especially
industry practice granted a 2-percent discount                 in shipping. When large buyers in Buffalo
for cash payment. But refiners would vary the
length of the grace period necessary to qualify                   12
                                                                     W. J. McCahan Sugar Refining and Molasses Com-
for the discount. The Instituteforbade this.                   pany, Memorandaand Notes of Meetings, August 2, 1929.
                                                                  13 W. J. McCahan Sugar Refining and Molasses Com-
   Storage Rates.-Prior to the Institute's ban,                pany, Memorandaand Notes of Meetings, April 4, 1929;
many brokers also operated warehouses that                     April 11, 1929; February20, 1930; February27, 1930. For
                                                               similar reasons, truckingposed continual problems for the
stored sugar for customers.Acting on behalf of                 Institute.
a refinerwith whom they had a long-termrela-                      14 In his ruling,the District CourtJudge statedthe matter
tionship, the brokercould substitutea discount                 succinctly: "The refinerspreferredto have all sugar sold in
on the storage paymentfor a cut in the price of                any given tradeareas at precisely the same prices and terms
                                                               ratherthan to effect economies in its sale and distribution."
                                                               Andrew R. Dick (1996) notes that in colluding via a com-
                                                               mon sale agency, some U.S. export cartels must forego
   11 W. J. McCahan Sugar Refining and Molasses Coin-          marketing specialized to the needs of individual firms'
pany, MemorandaandNotes of Meetings, January17, 1930.          products.




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asked to receive delivery by water barge                             Coordinated action via a trade association
(technically more convenient for the buyers),                     was not obviously illegal. Indeed, there were
even if charged at the much higher railroad                       numerous "open price" associations at the
                                                                       20
rate, the Institute refused for fear of creating                  time, many inspiredby ArthurJeromeEddy's
the opportunity for granting discounts.15 On a                    (1912) book The New Competition and pro-
larger scale, the move to delivered pricing led                   moted by the FederalTradeCommission. But a
to refiners replacing brokers in the transpor-                    series of Supreme Court decisions in the early
tation of sugar by water barge.'6 Presumably,                     1920's had left the legal status of trade associ-
the original integration configuration was the                    ation activities unclear. Also, the Sugar Insti-
more efficient one. The refiners also ran the                     tute's activities were clearly on the edge of the
risk of backward integration by their large                       permissible.2' Indeed, its members were ex-
customers thus denied quantity discounts, as                      tremely conscious of the legal consequences of
A&P threatened to do.'7                                           their deliberations.22They had the initial Code
   The prohibition of long-term contracts, and                    of Ethics vetted by the Departmentof Justice,
tolling contracts,where the buyer financed the                    which nonetheless later prosecutedthe refiners,
raw-sugarpurchase,clearly also meant lost ef-                     obtaining a 1936 Supreme Court decision out-
ficiencies.' The requirementthat all purchased                    lawing most of the Institute's practices.
sugar be delivered within 30 days led to a sec-
ondary market,where "secondhandsugar,"of-                              A. An AlternativeHypothesis: Quality
fered by customerswho had overbought,sold at                                       Suppression
a discountrangingbetween 5 and 20 cents. Any
transactioncosts in buying and selling would                        There is an alternative, yet still collusive,
make that development a social loss.                              explanation for the contractual restlictions.
   Place, in particular,was prepared to forgo
certain efficiencies from the allocation of pro-
                                                                     20
ductionaccordingto cost. He so feareddifferent                          There were 150 such associations in 1921 (Federal
                                                                 Trade Commission Survey, cited by Simon Whitney, 1935
prices, that he did not want local differences in                p. 40). Ironically, over 400 open-price associations were
loading or shipping costs to lead to differential                 operating under the National Recovery Administrationat
rates. "Those enjoying more economical load-                     the time of the SupremeCourtdecision (F. M. Schererand
ing conditions can pocket the profits,"he wrote                  David Ross, p. 348).
                                                                     21 See AmericanColumnand LumberCo. et al. v. United
in a letter to the Institute.19
                                                                 States, 257 U.S. 377 (1921); United States v. American
                                                                 Linseed Oil et al., 262 U.S. 371 (1923); CementManufac-
                                                                  turers' Protective Association et al. v. United States, 268
    15 W. J. McCahan Sugar Refining and Molasses Com-             U.S. 588 (1925); Maple Flooring Manufacturers'Associa-
pany, Memorandaand Notes of Meetings, June 13, 1929.              tion et al. v. United States, 268 U.S. 563 (1925).
    16
       Between 1928 and 1931, barge shipmentsby refiners             22 American, the largest firm, was particularlywary of
increased by 400 percent, while those by customers fell by        any discussions of prices. Upon the reading of a broker's
two-thirds. "DeniesSugar GroupEnforcementRule, "Jour-            letter complaining about nonuniformity in the previous
nal of Commerce,May 6, 1932, clipping in UnitedStates v.         week's price announcement,its representativecomplained
Sugar Institute, DOJ Correspondence,Case File 60-104-            that "such a letter should never have been read at a meeting
13, Box 422.                                                     of the Institute and should never have been placed on the
   17 UnitedStates v. Sugar Institute,DOJ Correspondence,        agenda." (W. J. McCahan Sugar Refining and Molasses
Case File 60-104-13, Box 421, Lamb memo to Colonel               Company,Memorandaand Notes of Meetings, December
Donovan, June 15, 1928 p. 1. Michael L. Katz (1987) shows         19, 1929). See also W. J. McCahan Sugar Refining and
how price discriminationcan deter backwardintegrationby          Molasses Company, Memoranda and Notes of Meetings,
large downstreambuyers (indeed chain stores in his exam-         July 18, 1929 and March 13, 1930. The initial Department
ple). The successful backward integration of Arbuckle            of Justice report on the Institute noted that "If we may
Brothers from sugar packaging to refining in 1898 after          deduce anything from the invitation issued by the Institute
American refused it a quantity discount would have lent          to the Department of Justice to send a representativeto
some credibility to A&P's threat (Genesove and Mullin,           attend its meetings, no discussion of price takes place at
1997).                                                           them" (DOJ Correspondence,United States v. Sugar Insti-
   18 DOJ Correspondence (Box 422), United States v.             tute, Case File 60-104-13, Box 421, Contents of Bundle,
Sugar Institute,Case File 60-104-13, July 11, 1931 inter-        December 1, 1928 p. 20). The refiners did discuss fixing
view with Edgar.                                                 brokeragerates (W. J. McCahan Sugar Refining and Mo-
   19W. J. McCahan Sugar Refining and Molasses Com-              lasses Company,Memorandaand Notes of Meetings, De-
pany, Memorandaand Notes of Meetings, April 3, 4, 1929.          cember 12, 1929; January30, 1930).




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Many of these rules can be understoodas lim-                      one is alreadychoosing,andenforcing,one single
itations on either quality or within-firmvariety,                 contractualstandardamong many, one might as
for contractual harmonization typically in-                       well limit nonpricecompetitionalong the way.
volved choosing the lower "quality"level. The
grace period for paymentwas set at 7 days, and                           III. IncompleteCollusiveAgreements
not at 14 days, the number of consignment
points were cut by half,23etc. In this interpre-                     "Although[oligopoly] is often thought of as
tation, the rules were meant to shut down non-                    a market-structureproblem, it becomes a con-
price competitionand so were directlycollusive,                   tractingproblem when it is phrased in terms of
insteadof merely facilitatingcollusion.                           the comparativeefficacy of cartel agreements"
   There was undoubtedly some suppression                         (Oliver E. Williamson, 1996 p. 8).
of nonprice competition involved, but at best                        The unavoidableconclusion from readingthe
this explanation is incomplete. First, it fails to                Place memorandais thatthe initialagreementwas
account for many of the rules. These include                      incomplete,in the sense used in the theoryof the
the prohibition on quantity discounts, the re-                    firm.Collusiveagreementsare incompletefor the
fusal to deal with warehouse-affiliated bro-                      usual reason that it is impossible to anticipate,
kers or shippers that did not openly announce                     enumerateand work through all contingencies.
their rates, as well as other transportation                      Indeed, the need to "fill in gaps" in the initial
policies. The rules on prior notification dis-                    agreementwas explicitlyrecognizedby the refin-
cussed in Section IV are particularly difficult                   ers in writingto the Courtthatthe Code of Ethics
to interpret in this manner. Second, the num-                     was not and "couldnot be, self-operative....[I]t
ber of different sugar grades itself was not                      required interpretationand administrationand
restricted. This was so even though the pro-                      consultationand the collection of information,
liferation of grades was costly to the smaller                    [which]the Institutewas set up to provide."25
refineries through lost economies of scale in                        The weekly meetings allowed the refinersto
packaging.24 Third, and most persuasively,                        "completethe contract"in severaldifferentways.
the alternative argument does not capture the                     Least importantwas the opportunityto adaptto
intermediate goal of eliminating discrimina-                      changingexternalcircumstances,for the technol-
tory pricing. The Institute's Code of Ethics                      ogy and demandof refinedsugarbarelychanged
has as its first principle that "all discrimina-                  over the period of the Institute.Aside from the
tion between customers should be abolished."                      rarementionof a new demandsubstitute,such as
This goal is a central theme not only through-                    liquidsugar,or a small-scaleinnovationlike bag-
out the published Code but also in the notes                      ging refinedsugarin paper-linedraw-sugarbags,
on the private meetings.                                          suchissues do not arisein the Placememoranda.26
   Nonetheless, we do not reject this argument                       The meetings also allowed the refiners to
completely.Rather,we view thesuppression   of non-                perfect the agreementunder unchangingexter-
pricecompetitionas complementary    to contractual                nal conditions. This included addressingminor
harmonization.  Both qualityand varietyare often                  questions left unclear by the Code and subse-
overprovidedfromthe industry'spointof view. If                    quent amendments.Can damagedsugarbe sold
                                                                  under a price guarantee?No. Is it "permissible
                                                                  to store in the warehouse of a brokerwho does
   23
      Whitney, December 1, 1928. United States v. Sugar           not handle sugar?" Yes. May one entertain a
Institute,DOJ Correspondence,Case File 60-104-13.                 broker? Yes. Do 30-day contracts end on the
   24 This is evident from a series of letters between Plac6,
                                                                  30th day afterthe startof the contract,or on the
who was in charge of marketing,and the productionman-
ager, e.g., letter from Kavanagh to Plac6, July 24, 1930,
W. J. McCahan Sugar Refining and Molasses Company,
                                                                     25
Correspondence-Costs and Melts, Record Group IV-                        Answer of the Defendants, United States of America,
S. G. 3, Series 151, Box 1. The Institute's Standardization       Petitioner, v. The Sugar Institute,et al., Defendants, in the
Committeeconcerneditself only with defining a few of the          District Courtof the United States for the SouthernDistrict
widely available commercial grades, and monitoring the            of New York, Filed August 1, 1931 p. 59.
refiners' accurate labeling of their own sugars for sale (a          26 W. J. McCahan Sugar Refining and Molasses Com-
logical complement to the "open-prices"rule). It was not          pany, Memoranda and Notes of Meetings, February 25,
particularlysuccessful.                                           1929; February13, 1930.




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 same day of the next month? The former.Are                      mentregulationswill give rise to new rules.Thus
contractsto be consideredfilled by telephoneor                   initially,only storagein a warehouseowned by a
telegraphicorder,or only if invoiced?The latter.27               customerwas prohibited.But as Instituteregula-
    More importantly,certainrules were found to                  tions foreclosedthatand otheravenuesfor giving
be unworkable, and had to be modified. The                       secretconcessions,refinersbegan storingin bro-
 original Institute policy required refiners to                 ker-affiliatedwarehouses,and the rule had to be
chargethe ICC-regulatedall-railrate,regardless                  changedto prohibitstoragethereas well.
 of the actualtransportationmode used. Remov-                       These decisions were formalizedby issuing a
ing the discretionfrom refinersto set their own                  series of Code Interpretations,which possessed
tariffs meantthatrefiners'greatermarketpower                     a quasi-judicialcharacter,an analogy not lost on
in their hinterlands were leveraged to more                      Institute members. When C&H questioned the
competitive markets, such as the Great Lakes,                    legality of enforcing adherenceto the Interpre-
 where all refinersmarketedtheir sugars.28How-                   tations, since only the Code itself had been
 ever, the availability of cheaper, albeit slower,               approvedby the Departmentof Justice, the In-
 water, or combined rail and water, routes of-                   stitute counsel deemed the former "absolutely
fered too great an arbitrageopportunityto oth-                  indispensable.Even national laws must be 'in-
ers. So the rules were changed to permit                        terpreted'by the Courtsbecause it is impossible
differentialrates under a limited set of circum-                 to foresee, at the time of writing the law, all the
 stances, for "inconsiderable"quantities. This                   circumstances to which it will apply. In the
new regime proved unworkable,in partbecause                      same way the Code must be interpretedin the
refiners themselves were tempted by these                        light of particularcircumstances."'0
routes, which facilitated secret price conces-                      Legal imagery permeates the Place memo-
 sions both on and off the routes. So the refiners               randa.The participantsspoke of evidence, as we
 switchedto a system of deliveredprices coupled                  shall see, and precedent.A decision on rates to
 with a refusal to sell f.o.b. refinery.This move                cities served by the New York Canal was later
to deliveredpricing, delayed for over a year out                 taken as applicable, "[o]n the same principle,"
 of fear of the antitrustauthorities,was ostensi-                to rates throughoutthe Great Lakes region.31
 bly accomplishedby the independentactions of                    Inquiriesabout the operationof a public ware-
 the refiners, given the dubious legality of the                 house for sugar were deemed "covered by the
 Institute taking such a step. But the Place                     decision in the BridgemanRussell case."32
 memos show the move to be a coordinatedact                         Given the centralityof rules in this collusive
 that required several meetings over a single                    mechanism, one should perhaps not be sur-
 week, in which suitable rates were discussed                   prised by the imagery. But the legality also had
and a leader emerged among the firms.29                         real effects. Legal principleshelp "completethe
   Perhaps the most importantadaptationfunc-                    contract"by extending one decision to cover
tion lay in closing unintended loopholes. The                   many subsequentincidents, as well as minimiz-
Institute was constantly regulating some new                    ing disputes. They also allow participantsto
practice,as the eliminationof one methodof se-                  anticipateothers' response. One might also ar-
cret price concession would give rise to a new,                 gue that the legal approach delayed, and per-
albeitless effective, one-much in the same way                  haps restricted,retaliationagainst violations of
as taxpayers'or firms'responseto tax or govern-                 the agreement,as we shall see.

   27
      W. J. McCahan Sugar Refining and Molasses Com-               30 W. J. McCahan Sugar Refining and Molasses Com-
pany, Memoranda and Notes of Meetings, February 28,             pany, Memorandaand Notes of Meetings, July 24, 1930.
1929; September 19, 1929; September 26, 1929; January              31 W. J. McCahan Sugar Refining and Molasses Com-
17, 1930; September25, 1930.                                    pany, Memorandaand Notes of Meetings, April 4, 1929.
   28 Dennis Carlton (1983) and Jacques-Fran,ois Thisse            32 W. J. McCahan Sugar Refining and Molasses Com-
and Xavier Vives (1988) show that while spatial price           pany, Memorandaand Notes of Meetings, July 19, 1929 and
discriminationis a dominant strategy for a duopolist, the       February20, 1930. In his study of nineteenth-centuryrail-
firms are better off when prior agreementforbids it.            road pools, T. S. Ulen (1979 p. 82) found parallels in their
   29 W. J. McCahan Sugar Refining and Molasses Coin-           institutions to an executive, legislature, and judiciary,
pany, Memorandaand Notes of Meetings, Several Meetings          though he makes no mention of legal imagery in their
in April 1929.                                                  discussions.




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                IV. Prior Notification                           plementaryto the rule of "open announcement"
                                                                 of prices and other terms of trade to buyers,
   Priornotificationof impendingactionswas an                    which was directed at shorteningthe detection
integralpart of the Sugar Institutemechanism.                    lag. It is well known theoreticallythat full col-
Instituterulesrequireda firmto notifyothermem-                   lusion is possible when firms can respond to
bers before selling damaged sugar, introducing                   others' deviations before consumers act,37and
new privatebrands,and changing any terms of                      the combinationof frequentmeetings and prior
trade.While in practicethe reportson damaged-                    notificationallowed firms to do so.
sugar sales took place shortly afterwards,33the                     The notification rule operated on the higher
rule on privatebrands-sugar marketedthrougha                     level of a two-level agreement. At the lower
grocery chain with the latter's label, often at a                level was a precise agreement comprised of
discount-was clearlyfollowed.34                                  codes, amendments, and resolutions that de-
   We see numerousexamples of notificationof                     tailed permissible actions, such as described
future changes in shipping tariffs or policies                   in Section II. At the higher level was an
more generally in the Place memos. For exam-                     understanding of adherence to these lower-
ple, when Revere, a Boston refiner,considered                    level rules. This meta-understanding permit-
reducingits rail shipmentratesfrom the rail rate                 ted refiners to remove themselves from the
to the water rate, it first told the Institute. Ar-              lower-level rules. But they were expected to
buckle precededits public announcementof its                     notify the other members of their intention to
decrease in freightrates by a private announce-                  do so beforehand.
ment to Institutemembers.And C&H informed                           Of course, notification must be timely to be
the Institute of its probableintention to spread                 effective. In its brief to the SupremeCourt,the
the price guaranteeto other states.35                            Departmentof Justice cited an Instituterule that
   But notification was used even when it was                    notification be given at least 15 days before
not explicitly required by the agreement. Ar-                    taking any action that violated a Board of Di-
buckle Brothersanticipated(preempted?)oppo-                      rectors' decision. However, we have no inde-
sition by announcing that some grocers had                       pendent verificationof that claim.
advertisedits brandand thatit wanted "to go on                      Notification can also be in the individual in-
recordas statingthat such ads are at the expense                 terest of a firm. Consider an action which is
of the grocers."36                                               privately profitable once other firms have re-
   Prior notification served two purposes. First,                sponded to it, but which will take marketshare
it was an attemptto eliminatethe retaliatorylag                  away from other firmsif unanticipatedby them.
in the nonprice domain. As such, it was com-                     Taking market share away from rivals risks
                                                                 retaliation.In the price domain, for example, a
                                                                 decrease from above the monopoly price, if
    33 W. J. McCahan Sugar Refining and Molasses Com-
                                                                 anticipated and matched, will leave the price
pany, Memoranda and Notes of Meetings, February 20,              cutter(and its rival) betteroff thanbefore; but if
1930 p. 6.                                                       unanticipatedand thus unmatched,the decrease
    34 For example, Federal announcedto its fellow refiners      will give the initiating firm the whole of the
that it might consider packing "privatebrands"but would          market,and thoughtemporarilymore profitable,
take no action without notifying the Institute.Later, Impe-
rial objected to the large numberof private brandsoffered        thus risk a retaliatoryprice war.38
by Texas City, and threatenedto "meet the competition."             The Place memos containan explicit recogni-
Three months after this threat, Imperial announced to the        tion of thisfunction.The Godchauxrepresentative
Institutethat it would indeed pack private brands,at which
time Texas City complainedthat it had discontinuedtwo of
its private brands. (W. J. McCahan Sugar Refining and
Molasses Company, Memorandaand Notes of Meetings,                    37See, e.g., V. Bashkar (1989).
                                                                     38
August 2, 1929; February13, 1930; May 15, 1930).                       Notificationis desirableeven when the rival firms are
    35 W. J. McCahan Sugar Refining and Molasses Com-            left worse off after they match the price cutter, as when a
pany, Memorandaand Notes of Meetings, March 8, 1929;             low-cost firm undercuts an initial price that is equal to a
March 31, 1929.                                                  high-cost firm's monopoly price (RobertH. Gertner,1994).
    36 W. J. McCahan Sugar Refining and Molasses Com-            Also, compare MargaretE. Slade (1992), in which price
pany, Memorandaand Notes of Meetings, August 15, 1929;           wars are seen as transitionsto the new equilibriumwhen
March 27, 1930.                                                  privately observable costs change.




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   praisedthe attitudeof Savannahwho, when                         board" and the condition visualized by
   faced with the necessity of changingtheir                       [American]could be correctlydescribedas
   methodof doing businessin orderto meet                          "F.A.S."meaningfree alongside."41
   competitionlast Fall, did not rush through
   an announcement[to the public]. Instead,                       Reading this, one is led to ask why the firms
   they waited for a Board meeting at which                    bother arguingat all. If one firm thinks that the
   they explained conditions as they found                     other has cheated, why not just retaliate?Why
   them and discussedwith otherrefinersthe                     the need to prove the point?
   necessityfor actionon theirpart.Theirsub-                      There are two reasons to first investigate.
   sequent announcements,because under-                        First, there may have been no intentionto break
   stood, did not cause any upheavals.Other                    the agreement.PerhapsFederaldid not mean to
   refinersrecentlyhave not followed this pol-                 captureadditionalmarket share by loading the
   icy with the resultthat,when revolutionary                  barges, and thoughtthat otherfirms were acting
   announcementsare made, retaliatoryan-
   nouncement are made by other refiners                       as it did. As in the Green and Porter model
   therebyplungingthe industryinto deplor-                     (1984), the evidence for cheating is never un-
   able and expensivepractices.39                              ambiguous,althoughhere it is a misunderstand-
                                                               ing-an "honest mistake"by rivals concerning
As we shall see, notificationalso precededretal-               the natureof the "agreement"(David M. Kreps,
iatory action. Deferringaction until notification               1990 p. 529)-not a drop in industry demand,
was possible carrieda cost of retaliatorydelay, at             that confounds. A similar difference of opinion
the benefitof reducedmisunderstandings.   Notice               arose about the deadline for payment of sugar
thatall the cases consideredhere concernan eas-                shipped by barge from New Orleans.42
ing of the termsof trade.In the usual exampleof                   Othertimes,the confoundingfactorwas indeed
notification-the   Ethyl case40-prior       announce-          a change in externalfactors.Thus, the failureto
ment was made of an intendedtougheningof sale                  force deliveryon customersat the end of 30 days
conditions:a nominalprice increasein an infla-                 was variouslydeterminedto be due not to cheat-
tionaryenvironment.Thatgave firmsan opportu-                   ing, but to the difficultyof obtainingbarges,vac-
nity to see if other firms would follow them, or               uum pans, and other unforeseen events. The
not. In that case, notificationserved as a coordi-             accusationcouldbe factuallywrong:a concession
natingmechanismfor an actionthat,when taken                    on one barrelof cakedsugarwas wronglyreported
by all firms,would benefitthem, but if takenby                 as a concessionon a muchlargeramountof pow-
one firm alone, would harmit.                                  deredsugarby a SugarInstituteinvestigator.43 Or
                                                               a firmemployeeor directbrokermay simplyhave
            V. Ex Post Determination                           made an errorin invoicing or shipping.
                                                                  Unlike in Green and Porter (1984), there is
  The Sugar Institutemeetings also provided a                  a mechanism here-the Sugar Institute's
forum for accusationand rebuttal.For example,                  meetings-by which firms can first judge
in March of 1929, American charged Federal                     whether cheating has in fact occurred before
with secretly cutting prices by loading barges                 taking action. The Sugar Institute served as a
without charge. American argued that                           court in which an accused firm might prove its
                                                               innocence, in some cases on factual, in others
   [F.O.B.] meant that the sugar must be                       on logical, grounds. In doing so, the Institute
   placed within reach of the tackle of either
   the ship or the barge. Severalpeople testi-                    41
                                             in
   fied...thatthis had been the interpretation                       W. J. McCahan Sugar Refining and Molasses Com-
   the past and that all loadingand unloading                  pany, Memorandaand Notes of Meetings, March 14, 1929.
                                                                  42
                                                                     W. J. McCahan Sugar Refining and Molasses Com-
   chargeshad alwaysbeen construedas being                     pany, Memorandaand Notes of Meetings, March 13, 1930.
   for accountof the vessel. [Federal]took the                 Plac6 notes to his readers that he "recognizedthe truth of
   positionthatF.O.B. meansliterally"freeon                    Mr. Moog's reasoning."
                                                                  43 W. J. McCahan Sugar Refining and Molasses Coin-
                                                               pany, Memorandaand Notes of Meetings, January30, 1930.
     W.J. McCahanSugarRefiningand Molasses Company,               44 W. J. McCahan Sugar Refining and Molasses Com-
Memorandaand Notes of Meetings,March 13, 1930 p. 3.            pany, Memorandaand Notes of Meetings, September 26,
  40
     E. L DuPont de Nemours Co. et al. vs. FTC (1984).         1929; January27, 1930; May 29, 1930.




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raised the signal-to-noise ratio of indicators                   path at which the defection occurred.
of cheating, to use a more prosaic metaphor.                     There is no need to "tailorthe punishment
   A second reason not to retaliateimmediately                   to fit the crime" (David G. Pearce, 1992
is the need to first gamer support among the                     p. 140).4
other firms. If the accusing firm acts alone, it                 What we observe is quite different.Firms did
may stand accused of cheating itself, and be                  cheat. A Detroit chain store received a secret
subject to retaliation. Such was the case for                 price concession when it switched from Na-
Godchaux in retaliating against Savannah, as                  tional to Spreckels. Spreckels overpaidtruckers
described in Section VI.                                      who then worked a few hours "free"for certain
   As a result, accusing firms could not rely on              customers. Arbuckle knowingly sold to a
their own beliefs alone, but requiredevidence.                dummy corporation that fronted for Edgar.48
Evidence had to be not only observable, but                   All this was done secretly, then uncovered by
legally verifiable as well-to use the language                the Institute.
of contract theory. Place informs his readers                    Cheating was particularlybad in the South.
(fellow McCahanexecutives) of an accusation                   GodchauxbrokeInstituteregulationstwice over
that Godchauxwas selling sugarsto Edgar.This                  in accepting a contract with a price guarantee
was a violation of Instituteregulationsbecause                for delivery by water barge, whose movements
Edgar-a large, prominent,and aggressive De-                   it agreed not to trace. Texas City accepted a
troitbrokeragefirm-was engaged in storageas                   42-day contract-an offense serious enough
well. An invoice uncovered by an Institute in-                that the owner offered to fire his top three ex-
vestigatorthat appearedto documenta sale was                  ecutives over it. That same refiner later ab-
offered as evidence. Place examinedthe invoice                sorbed storage charges through a dummy
after the meeting.                                            corporation.Colonial offered a 6-cent rebate to
                                                              large buyers. And in Tampa, postdated checks
   I am afraidthat [the investigators]are off                 were used to give credit.49
   on the wrong track....[T]his invoice is                       Yet, outside of the South, neither in prices
   merely part of Godchaux's bookkeeping                      nor in rules were these individual violations
   method...1do not doubt that the 20 cars                    met by reversion to competitive conditions 'a
   are eventually to be merchandised by                       la Green and Porter (1984), let alone subcom-
   Edgar but...[Godchaux] is too clever to
   commit a faux pas such as [the investiga-                  petitive conditions, 'a la Dilip Abreu et al.
   tor] thought he had uncovered.45                           (1986). This is especially noteworthy as the
                                                              industry did experience subcompetitive prices
With the invoice no longer probative, all the
refiners were notified of the "the error which
apparentlyhad been made."46                                      47 Pearce is referringto public-informationmodels only.

                                                              But Susan Athey et al. (2000) show that in a private-
          VI. Cheatingand Retaliation                         information model, all "off-schedule" deviations are also
                                                              treatedthe same.
                                                                 48 W. J. McCahan Sugar Refining and Molasses Com-
  In the theory of implicit collusion, the re-                pany, Memorandaand Notes of Meetings, May 16, 1929;
sponse to a deviation is                                      March 13, 1930. The Arbuckle representativevolunteered
                                                              the informationto prove a point. Upon hearingit, one of the
                                                              National representatives "jumped to his feet and in an
   simple in the extreme. A deviation by                      excited tone of voice asked the Institute to elect another
   player i is always treated the same way                    chairmanas he refuses to be a member of an organization
   regardless of the nature of the deviation,                 whose members brazenly admit the violation of its regula-
   the period in which it occurred, the par-                  tions. I caughtan exchange of glances between [him and the
   ticularpathin progress,or the point on the                 other National representative]and the former immediately
                                                              calmed down. It was evident that the Nationalhad [done the
                                                              same]."
  45 W. J. McCahan Sugar Refining and Molasses Com-              49 W. J. McCahan Sugar Refining and Molasses Com-
pany, Memorandaand Notes of Meetings, March20, 1930.          pany, Memorandaand Notes of Meetings, August 22, 1929;
  46 W. J. McCahan Sugar Refining and Molasses Com-           October 3, 1929; December 19, 1929; February14, 1930;
pany, Memorandaand Notes of Meetings, March27, 1930.          March 27, 1930.




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a generation earlier (Genesove and Mullin,                     sponse to a deviation was generallyrestrictedto
1997). Rather, deviations were either ignored                  the instrumentof violation. When, for example,
or matched.                                                    Southernrefinersfailed to preventthe diversion
   Typically, when a specific incident of cheat-               of shipments from states in which price was
ing was uncovered, fault was determined,and                    guaranteedduringshipmentto where it was not,
the refiner confessed or attempted to justify                  C&H introduced a guarantee for Texan ship-
it50 or more likely, blamed the broker5'-and                   ments and threatened to extend it to other
then halted the practice.There the matterwould                 Western states.54 Likewise, when McCahan
end. One can conjecturethatone refiner's cheat-                concluded that some refiners were not uni-
ing would encourage another's, but by the na-                  formly enforcing the contracttime limits, Place
tureof such a process it is impossible to connect              firstthreatenednot to enforce McCahan's terms
one incident to a particularpredecessor.                       either55and then, with others, carried out his
   Where the cheating continued over a longer                  threat.Likewise, Arbuckle Brothersthreatened
period, or there was an open violation of the                  to "meetsecretcompetitionby openly accepting
agreement,the response was typically to match                  contracts for delivery...over an indefinite de-
the practice.This is most evident in transporta-               layed period."56After several price moves over
tion pricing. When one firm openly lowered its                 a period of months resultedin mixed success in
rate for rail shipmentsto the lower water-barge                contract enforcement, the Institute proposed
rate, other firms would respond by lowering                    thateach refinerinformthe tradethathenceforth
their rail rates to the same level.52 When the                 any sugar remaining on a contract would be
Pacific refinersgave a freight allowance on cer-               shipped to customers in bulk bags on the con-
tain contracts, American announced that it                     tract's expiration date. Savannah, although
would match it.53 The punishmentwas indeed                     agreeing to send out the letter, refused to en-
"tailoredto fit the crime."                                    force it, on the groundsthat Hershey had in the
   Matching was not only in degree but also in                 past done the same. Colonial then conditioned
kind. In responding to a violation, rival firms                its enforcement on that of Savannah and
have at their discretion not only the extent of                C&H.57 In yet another case, when Arbuckle
retaliation,but the instrumentas well. For ex-                 Brothers temporarily stopped adhering to the
ample, in response to the invoicing of a rail                  Institute's sugar standards,National and Penn
shipment at the lower barge rate, in contradic-                stopped as well.58
tion to the Instituterules, retaliationneed not be                This restricted pattern of retaliation is also
restrictedto transportationpricing, but in prin-               present in the enforcementof the separationof
ciple could include payment length, consign-                   brokerage and storage activities downstream.
ment policy, sugar grades, and even price.                     ArbuckleBrothersthreatenedthat if there were
Indeed, just as B. Douglas Bemheim and                         any furthershipments to brokers who doubled
Michael D. Whinston (1990) have shown that,                    as warehouse operators, then it would begin
where there is multimarketconduct, collusion                   supplying Edgar again.59
can be enhanced when punishment encom-                            Matchingwas actuallyinstitutionalizedin the
passes all markets, so one would expect that                   enforcementof the 30-day delivery rule, which
collusion would be enhanced by punishing a
deviator with all possible instrumentsat hand.
   It is sulprising, then, to observe that the re-                54 W. J. McCahan Sugar Refining and Molasses Com-
                                                               pany, Memorandaand Notes of Meetings, March 8, 1929.
                                                                  55 W. J. McCahan Sugar Refining and Molasses Com-
                                                               pany, Memorandaand Notes of Meetings, letter filed with
   50 W. J. McCahan Sugar Refining and Molasses Com-           the memoranda,February15, 1929.
pany, Memorandaand Notes of Meetings, May 27, 1930.               56 W. J. McCahan Sugar Refining and Molasses Com-
   51 E.g., W. J. McCahan Sugar Refining and Molasses          pany, Memorandaand Notes of Meetings, June 15, 1929.
Company,Memorandaand Notes of Meetings, August 29,                57 W. J. McCahan Sugar Refining and Molasses Com-
1929; September26, 1929; December 19, 1929.                    pany, Memorandaand Notes of Meetings, August 1, 1929.
   52 W. J. McCahan Sugar Refining and Molasses Com-              58 W. J. McCahan Sugar Refining and Molasses Com-
pany, Memorandaand Notes of Meetings, March 28, 1929.          pany, Memorandaand Notes of Meetings, February8, 1929.
   53 W. J. McCahan Sugar Refining and Molasses Com-              59 W. J. McCahan Sugar Refining and Molasses Com-
pany, Memorandaand Notes of Meetings, May 22, 1930.            pany, Memorandaand Notes of Meetings, May 9, 1929.




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firms continually broke by grantingextensions                     tions, it would only discuss all of them
on the grounds of production schedules and                        together.63Arguing that Texan refiners "have
transportavailability. To deal with this prob-                    been guilty of many different violations of the
lem, the Institute required refiners to report                    Code," C&H threatened to "request the entire
their quantity of undelivered contracts for                       suspension of the Code of Ethics in the Texas
each price move.60 These weekly reports were                      territoryso that all refiners may be in position
circulated to all members and discussed at a                      to fight fire with fire."64
dedicated weekly meeting. A large balance of                         Elsewhere in the South, Savannah was dis-
undelivered contracts revealed a firm as un-                      suadedfrom resigning from the Institute,so that
likely to meet the contract due date, either                      it might deal with the "unethical"competition
because of capacity constraints in production                     from the Cuban-refinerHershey,by a resolution
or transportation, or because the high bal-                       which authorizedmembers "to 'meet the com-
ances signaled an unwillingness to pressure                       petition of Hershey,' provided that the specific
customers to take delivery. Other refiners                        competitor and the exact territoriallimits are
could then match by adjusting, or threatening                     announcedto the Institute."65Thus, the Institute
to adjust, their own contract enforcement.                        agreed to suspend the collusive agreement, so
This matching was eventually further institu-                     long as prior notificationwas given.66
tionalized by a short-lived understanding                            The last example illustrates again how In-
"that all refiners will be free to spread their                   stitute membership stymied firms from imme-
own deliveries over the same number of days                       diately responding to competition. Retaliation
as the most delayed refiner will require,"                        was to be at the discretion of the Institute
which agreement was "not to be announced to                       as a whole only. When in November 1929,
the trade."61                                                     Godchaux withdrew its authorization for the
   These reportsboth sped up retaliatorymatch-                    Institute to audit its stocks until Colonial
ing and made it more routine.In their absence,                    ceased from storing its sugar in buyer-
a firm would not know precisely how well oth-                     affiliated warehouses, and withholding con-
ers were forcing delivery until afterthe due date                 tract enforcement and other statistics,67 the
had passed. Retaliation could only then be                        other refiners disapproved. According to
through refusal to enforce future contracts, or,                  them, Godchaux was "taking a very arbitrary
like C&H before joining the Institute,on other                    position. Irrespective of Colonial's activities,
contractual terms.62 The reports permitted                         Godchaux has no right to secretly indulge in
quick, nearly contemporaneousresponses, pre-                      unethical practices themselves... If Godchaux
cisely tailored to the violation.                                 desires to meet Colonial competition it must
   Where retaliation did take the form of a                       be done openly, as Savannah did in South-
reversion, or threatenedreversion, to compet-                     eastern territory."68
itive conditions or worse, it was only in re-
sponse to large-scale cheating in several
dimensions. This only occurred in the South,                         63
                                                                        W. J. McCahan Sugar Refining and Molasses Com-
which was the periphery of the market. As                         pany, Memorandaand Notes of Meetings, July 18, 1929.
                                                                     64
                                                                        W. J. McCahan Sugar Refining and Molasses Com-
early as June 1929, an Institute investigator
                                                                  pany, Memorandaand Notes of Meetings, November 21,
reported the Code of Ethics as "dead in the                       1929 p. 1.
water" in Texas. Compartmentalizationbroke                           65 W. J. McCahan Sugar Refining and Molasses Com-
down there. C&H would not discuss any sin-                        pany, Memoranda and Notes of Meetings. The date is
gle issue, but insisted that given the condi-                     unclearin the original,but is probablyJuly or August, 1929.
                                                                     66 Hershey was not a member of the Institute,but, like
                                                                  the beet-sugar association and C&H before joining,,had
                                                                  adhered to some of the Institute's regulations and iUre-
   60
      The willingness of refiners to supply these figures is      quests for marketstatistics.
strikinggiven the failure to collect actual sales figuresfrom        67 W. J. McCahan Sugar Refining and Molasses Com-
members,as described in Genesove and Mullin (1999).               pany, Memorandaand Notes of Meetings, August 22, 1929;
   61 W. J. McCahan Sugar Refining and Molasses Com-              September 19, 1929; October 3, 1929.
pany, Memorandaand Notes of Meetings, November 17,                   68 W. J. McCahan Sugar Refining and Molasses Com-
1929.                                                             pany, Memorandaand Notes of Meetings, Executive Com-
   62
        See Section VII.                                          mittee, November 7, 1929.




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   Our comments in this and the previous sec-                    (1984). Collectively through the Institute, the
tion paint a very different picture of the re-                   refinerssought brokers'adherenceto the agree-
sponse to a deviation than that imagined in the                  ment through blacklisting deviators (although
formal theory. Instead of meeting a single de-                   refinerstendedto protecttheir own), and instill-
viation with immediate massive retaliation,                      ing a culture of adherenceto the codes.
there may be an attemptto determineif it was                        Not only did the system make deviations
indeed a conscious effort to break the agree-                    more prevalent, it made punishment more
ment, or rathera misunderstanding,or the prod-                   costly. It is easy to see that continualtransitions
uct of external factors. Threats may also                        between a "collusive" phase and a "punish-
precede any retaliation,in partto ensureit is not                ment"phase would be difficult to enact in such
misconstruedas a deviation,in partto allow the                   an environment.One cannot easily ask selling
deviatorto back down. Retaliationwhen, and if,                   agents to one day adhereto one set of rules, the
it comes is limited to the kind of violation, and                next to another,and the day afterto returnto the
is typically to match it.                                        first set of rules, especially when the first set of
   Thus the refinershad chosen the opposite end                  rules stands in the way of their (individual)
of the trade-off between Type I and Type II                      profit opportunities.
errors to that of the Green and Porter (1984)                       Apparently,the tension between the desire of
equilibrium.There, firms accept that they will                   selling agents to increase sales and the firm's
punish when cheating does not occur in order                     desire to abide by the agreementwas felt inside
that cheating never occur; here, firms accept                    the firm (as legally defined) as well. Arguing
some cheating so as not to punish inappropri-                    that "the matterof contractenforcementcannot
ately. Collusion was nonetheless (imperfectly)                   be left in the hands of the Sales Department,"
sustained, because wholesale cheating was re-                    one firm announcedthat it had established "an
taliated against massively.                                      entirely separatedepartmentto handle contract
   One reason to desist from full-scale retalia-                 enforcement and enforcement will be accom-
tion stems from the verticalcontractualarrange-                  plished without allowing the prejudicesand de-
ments in the industry. Issues of internal firm                   sires of the Sales departmentto interfere."
organization apparentlydictated that the most                       Finally, we ask: Why matching?Matchingin
efficient contract between a firm and its sales                  price (where sales are made before rivals can
agents entailed brokerage, with brokers often                    respond) will not deter undercutting,of course,
dealing exclusively with specific refiners.69                    but the methodcan be effective for deviationsin
Brokers faced high-poweredincentives, with a                     discrete choices, such as for rules. Robert Ax-
fixed percentage commission earned on every                      elrod's (1984) demonstrationof the robustness
sale.                                                            of a matching, or "tit for tat" strategy in com-
   This system was at odds with the collusive                    puter simulations of the prisoner's dilemma is
agreement in two respects. First, an exclusive                   well known.70Less well known is subsequent
broker had an incentive to "steal" a customer                    work showing the robustness of the "generous
from another firm through secret concessions.                    tit for tat" strategy(Axelrod, 1997 p. 36-37) in
Of course, because refiners made a positive                      which a percentageof deviationsare assumedto
profit on every sale, this would benefit the re-                 be "mistakes,"and so are forgiven-as seems to
finer as well. But being one of many, instead of                 have occurred here. An additional appeal of
one of 15, a broker'sincentive to deviate much                   matchingmust have been that it was consistent
exceeded a refiner's. Viewed from the refiners'                  with the ethic of nondiscriminationand symme-
perspective, brokers' cheating added noise to                    try that underlaythe Code of Ethics.
demand, and so provided an opportunity for                          Could what we have labeled as deviation
firms to cheat by hiding behind their brokers,                   followed by retaliation by matching be better
much like demand shocks in Green and Porter                      thought of as a move to a new equilibrium,in


   69                                                               70
      American's attemptto sell directly to buyers without             Levenstein (1997) documentsa tit for tat clause in the
intermediariesfrom 1918-1922 was apparentlya complete            collusive agreementbetween Dow Chemical and Deutsche
failure.                                                         Bromkonvention.




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which one firm leads, and the others follow in                firm that registers a decrease in marketshare is
an optimal response, however grudgingly?                      compensated with additional market share in
There is some appeal to this interpretation,at                futureperiods.Thereare a couple of discussions
least when the violation was done openly. But                 along these lines in the memoranda.Colonial
the largerpoint remains.We do not see the use                 having stated that "it will consider itself at lib-
of massive retaliation to protect the original                erty 'to meet the competition' as it meets
equilibrium,which the Folk Theorems of im-                    it.... The consensus of opinion was that Colo-
plicit collusion would suggest could be sus-                  nial ha[d] suffered such a large decrease in
tained by such response, and would be, when                   distributionthat some means must be found to
collusion is less than perfect.                               allow them to catch up."72Because at this point
                                                              the memorandabecome quite spotty in covering
 VII. What Firms Did Not Do: Inference from                   the meetings, we do not know why Colonial's
     Market Shares and Market Allocation                      sales had declined, and do not know whether
                                                              ''some means' was found and acted upon (we
   Since in the Green and Porter (1984) model                 suspect not). Elsewhere, Place hears that Amer-
and its offshoots cheating is inferred from an                ican is forbidding secondhandsugars from be-
increasein a firm's marketshare,it is naturalto               ing transferredto Boston, presumably to stop
ask, as some readers of earlier drafts of this                Revere, the local Boston refiner,from dropping
paperhave, whetherrefinersused such informa-                  its price.
tion to police the accord.Market-shareinforma-                   Note, however, that as we pointed out in
tion was available to them, although at                       Section II, there was no easy mechanism for
somewhat low frequency (Genesove and Mul-                     reallocatingmarketshares.
lin, 1999), but was rarely used in that fashion.                  There are thus imperfect echoes of these
The one such inferencein the Place memoranda                  models of collusion under imperfect public in-
is the observation that Arbuckle had not been                 formationin the memoranda,but they are rare.
obtainingits "properquota of business," appar-                These four incidents are the only such ones in
ently because brokersregardedit as "too strict"               nearly a hundredmeetings over the 18-month
in enforcing contracts. The possibility that                  period. Market share is a noisy indicator of
American's advertising is at fault instead is                 cheating; and with direct evidence available,
dismissed, since other refiners' sales had not                the refiners evidently preferredto rely on that
fallen. Half a year later, the Arbucklerepresen-              instead.
tative blamed its low share on its not being "as                  Throughoutthe course of the Institute's life
liberal in meeting competition as McCahan"                    there were calls for a stronger agreement that
had been. Place retortedthat the "premise"was                 would go beyond rules to exercise control over
wrong.71                                                      production.Indeed, that was the members' ini-
   In Green and Porter (1984), a fall in market               tial purpose in organizing,before their counsel
share, whatever the reason, leads to a price                  told them they could not do so. Nonetheless,
war. In the Place memoranda, the reason for                   twice American proposed a market-sharing
the decline is crucial. In a rather dramatic                  scheme. In April 1929, it suggested a "formula"
incident, the president of C&H, not yet a                     holding each refiner's output to its capacity
member of the Institute, threatened to "break                 under"Wartime'control'plus 50 percentof any
the price" if, upon returningto San Francisco,                subsequent increase in capacity." The issue
he were to discover that its sales had been low               "was discussed at great length but no decision
because of the failure of Eastern refiners to                 was arrivedat."Then on August 29 of thatyear,
enforce the 30-day limit.                                     having waited for the official meeting to ad-
   In Dilip Abreuet al. (1990), Drew Fudenberg                joum, the American representativeproposed a
et al. (1994), and Athey and Bagwell (2000), a                specific market share for each firm (with a de-


   71                                                           72
      W. J. McCahan Sugar Refining and Molasses Com-               W. J. McCahan Sugar Refining and Molasses Com-
pany, Memorandaand Notes of Meetings, September 29,           pany, Memorandaand Notes of Meetings, September 26,
1929; February20, 1930.                                       1930.




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crease in every share except American's). For                 courts had approved, although not necessarily
neither proposal was any enforcement mech-                    yet forbidden.78 Throughits communicativeor-
anism offered, and, in fact, nothing came of                  gans it could do much better than simply infer-
either, so that almost a year later, one partic-              ring cheating from public information. To
ipant complained "that, in spite of all the                   collude more explicitly, would clearly have
pretty speeches which have been made on                       been illegal. To merge was impossible, given
[self-regulation], there is no evidence of this               the government's 1910 antitrust suit against
principle being put into practice." He was                    American. Unfortunately for the refiners, the
answered that "unfortunately, the Institute's                 Court would decide that their practices were
attorney does not allow discussion of this                    also illegal, and push back the "frontier."
subject on a basis which could bring actual
results."73                                                                        VIII. Conclusion
   A couple of refiners called for consolidat-
ing the industry. The C&H president spoke of                     We have emphasized the Sugar Institute's
removing two or three refiners.74 Spreckels                   role as a mechanism for governance and a
called for "three, or at most four, companies                 forum for communication among the refiners.
control[ling] all the refineries of the coun-                 However, it fulfilled two additional functions.
try."75But there were no mergers or acquisi-                  The more importantof the two was its role as
tions during this period.                                     a neutral party among the firms. That allowed
   Calls for coordinated market withdrawals                   the Institute to audit them. It also collected
were left unfulfilled as well. C&H prepared a                 information while protecting its confidential-
map "to show that, if the Western territory is                ity, aggregating self-reported firm-level sta-
not invaded by Atlantic Coast and Gulf refin-                 tistics into industry totals that were then
ers, Western producers would be able to dis-                  reported back to the firms. Genesove and
tribute these products without coming south                   Mullin (1999) considers this role, and so we
or east."76 But the Eastern refiners were                     have not pursued it here.
hardly preparedto cede the important market                      Therewas an additional,strategicvalue to the
of Chicago. Place demanded a "deliberate                      embodiment of the collusive agreement in an
plan for the curtailmentof the operation of the               institution outside of the individual firms. In
[then nonmember] C&H," and in response the                    their bargaining with brokers or buyers, the
Institute decided to ask the Hawaiian planters                refinerssometimes used the Instituteas a scape-
to sell a larger part of their raw sugar to the               goat. More formally, firms could commit to
Eastern refiners, rather than C&H. But there                  policies by having them formalized as Institute
is no further mention of this, and C&H's                      rules. However, this manoeuverwas limited by
production was not cut back.77                                the Institute's counsel's warning that such
   These are the only discussions of stronger                 claims would paint the Instituteas a consolida-
collusive schemes in Place. The Sugar Institute               tion and thus risk antitrustprosecution.
was at the edge of allowable behavior, "pio-                     It is useful to comparewhat we have learned
neers"at the "frontier"as its counsel was to say              here about communication with a number of
on the eve of the trial, "beyond anything"the                 recent theoreticalpapers that have explored the
                                                              issue.
                                                                 We have stressed the adaptation value of
   73 W. J. McCahan Sugar Refining and Molasses Com-          frequentmeetings. It could be arguedthat such
pany, Memorandaand Notes of Meetings, April 11, 1929;         flexibility would come at the cost of less cred-
August 29, 1929; February6, 1930.                             ible punishmentschemes, for frequentmeetings
  74 W. J. McCahan Sugar Refining and Molasses Com-
pany, Memorandaand Notes of Meetings, March 8, 1929.          might allow firmsto renegotiatetheirway out of
   75 W. J. McCahan Sugar Refining and Molasses Com-          punishments. The theoretical literature on
pany, Memoranda and Notes of Meetings, February 13,
1930.
   76 W. J. McCahan Sugar Refining and Molasses Com-
                                                                78
pany, Memorandaand Notes of Meetings, March 8, 1929.               W. J. McCahan Sugar Refining and Molasses Com-
   77 W. J. McCahan Sugar Refining and Molasses Com-          pany, Memorandaand Notes of Meetings, March 8, 1929;
pany, Memorandaand Notes of Meetings, April 11, 1929.         January17, 1930.




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renegotiationis inconclusive, althoughBarbara               clusion, their collusive scheme could easily and
McCutcheon (1997) has argued that the ability               profitablyaccommodatethem. Thus a different
of colluding firms to meet once an initial agree-           explanation for the foregone efficiencies is re-
ment has been reached would constrain the                   quired. We have offered the explanation that
agreement. Certainly, that would help explain               exploitationof these efficiencies would threaten
why retaliationseems so weak in this market.                the homogeneity of business practices that
   However, we think that renegotiation was                 made pricing transparent.
not a serious impediment to collusion.                         In their conclusion, Athey et al. (2000) argue
Clearly, the refiners did not see it as so. In              that their model could rationalizea hypothetical
choosing to have weekly meetings, the refin-                situation in which one firm openly lowers its
ers obviously valued the adaptation function                price drastically and yet evokes no response.
higher than any risk of renegotiation of pun-               They cite an earlier draft of this paper as pro-
ishment. The meetings continued at that fre-                viding support,in the nonpricedomain,for such
quency, or higher, at least until mid-1930,                 occurrences.We think this is a mistaken appli-
when the Place memos end. No one ever                       cation of their model, for the cheating we
suggested less frequent meetings.                           describe in Section VI are clearly "off-
   Also, we see no evidence of renegotiationout             equilibrium."They are taken secretly, and typ-
of punishment. The threats we document are                  ically uncovered only by the Institute's costly
never retracted.Nor do we see firmsbargainout               investigation.
of any punishment. Of course, the possibility                  We have found the currenttheories of collu-
that a punishmentmight be renegotiatedmight                 sion to be inadequatefor representingwhat tran-
nonetheless determine the structure of the                  spiredin the SugarInstitute.Existing theoryhas
agreement;in theoreticalterms, one can always               little to say about communicationin collusion,
construct a nonrenegotiatedequilibrium from                 and those models that exist do not capturethe
the path of any renegotiation-proofequilibrium.             richness of the content of that communication.
But, (a) we have alreadynoted that in meeting               Furthermore,the natureof retaliationfor cheat-
so frequentlythe refinersmust have been either              ing is much more restrainedthan that imagined
unaware or unconcerned with the possibility                 by the existing theories. We have also argued
of renegotiation, and (b) that theoretical con-             that the internal organization of the firms-
clusion presupposes an environment in which                 more specifically, the selling agents' high-
all contingencies are foreseen. This nonrene-               powered incentives-help explain the limited
gotiated equilibrium is more properly seen as               retaliation. Nonetheless, one should not lose
an artifact of the models, in the same sense                sight of the overall success of Stigler's (1964)
that the models predict that there will be no               original insight in capturing the essentials of
cheating in equilibrium. McCutcheon herself                 collusion in this market.The SugarInstituteand
acknowledges that her model lacks "incom-                   its rules were constructedby firms in pursuitof
plete contracting, imperfect monitoring, and                the common goal of collusion, but each well
meetings in equilibrium"-all features of the                aware of their individual ex post incentive to
Sugar Institute.                                            underminethe agreementonce in place.
   In their recent paper on price collusion with
private information,Athey et al. (2000) touch
on certainissues that we have emphasizedhere.                                     REFERENCES
Thus they note that in the pursuitof a workable
collusive agreement,firms will often choose to              Abreu, Dilip; Pearce, David and Stacchetti, Ennio.
give up cost efficiencies. We stressed the same                 "Optimal Cartel Equilibria with Imperfect
point in Section II, but it is importantto under-               Monitoring."Journal of Economic Theory,
stand the difference between our paper and                      June 1986, 39(1), pp. 251-69.
theirs. The foregone efficiencies in their model                       . "Toward a Theory of Discounted Re-
are privately observed; whereas those we doc-                   peated Games with Imperfect Monitoring."
ument here-delivering sugar by water rather                     Econometrica, September 1990, 58(5), pp.
thanrail, for example-are publicly known, and                   1041-63.
so, as the authorsthemselves note in their con-             Albert, Bill and Graves, Adrian, eds. The world




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